Case 2:20-cv-10203-JVS-PVC Document 94 Filed 04/26/21 Page 1 of 15 Page ID #:424



   1
   2
   3
   4
   5
   6
   7
                          UNITED STATES DISTRICT COURT
   8
                         CENTRAL DISTRICT OF CALIFORNIA
   9
  10   HURFORD GLOBAL, LLC,                   Case No. 2:20-cv-10203-JVS-PVCx
  11
                        Plaintiff,            STIPULATED PROTECTIVE
  12                                          ORDER
  13              v.
  14   ROM TECHNOLOGIES, INC., PETER
  15   ARN and SANFORD A. GOMBERG,
  16                    Defendants,
  17
       And RELATED COUNTERCLAIMS.
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28

         STIPULATED PROTECTIVE ORDER – CASE NO. 2:20-CV-10203-JVS-PVC
Case 2:20-cv-10203-JVS-PVC Document 94 Filed 04/26/21 Page 2 of 15 Page ID #:425



   1   1.     INTRODUCTION
   2          1.1   PURPOSES AND LIMITS OF THIS ORDER
   3          Discovery in this action is likely to involve production of confidential,
   4   proprietary, or private information for which special protection from public
   5   disclosure and from use for any purpose other than prosecuting this litigation may
   6   be warranted. Accordingly, the parties hereby stipulate to and petition the Court to
   7   enter the following Stipulated Protective Order. The parties acknowledge that this
   8   Order does not confer blanket protections on all disclosures or responses to
   9   discovery and that the protection it affords from public disclosure and use extends
  10   only to the limited information or items that are entitled to confidential treatment
  11   under the applicable legal principles. The parties further acknowledge, as set forth
  12   in Section 12.3, below, that this Stipulated Protective Order does not entitle them to
  13   file confidential information under seal; Civil Local Rule 79-5 sets forth the
  14   procedures that must be followed and the standards that will be applied when a
  15   party seeks permission from the court to file material under seal.
  16          1.2   GOOD CAUSE STATEMENT
  17          This case centers on an agreement to exclusively license the ROM3 patents
  18   and trademarks to Defendant ROM Technologies, Inc., f/k/a ROM3 Rehab LLC,
  19   and ROM3 California, LLC (hereinafter “ROMTech”), and contract, tort, Illinois
  20   consumer law, and trademark claims asserted by plaintiff Hurford Global, LLC
  21   (“Hurford”) arising out of it and its alleged termination. The plaintiff is a closely
  22   held limited liability company and the defendants are a private corporation and two
  23   individuals. Discovery already has been served and responded to which requests
  24   production of documents and information about Hurford’s and ROMTech’s
  25   confidential business and financial information, such as past sales and revenue,
  26   projected sales and revenue, profit and loss statements, future product plans, patent
  27   applications and similar documents, corporate documents, including board of
  28   directors meeting minutes and resolutions, confidential reports from ROMTech's
                                                   1
            STIPULATED PROTECTIVE ORDER – CASE NO. 2:20-CV-10203-JVS-PVC
Case 2:20-cv-10203-JVS-PVC Document 94 Filed 04/26/21 Page 3 of 15 Page ID #:426



   1   medical consultants on the operation and efficacy of its medical device products.
   2   Requests for additional confidential information are anticipated. The requested
   3   documents and information are, and future requested documents and information
   4   are likely to be, “trade secret or other confidential research, development, or
   5   commercial information” within the meaning of Federal Rules of Civil Procedure
   6   Rule 26(c)(1)(g), the disclosure of which likely would cause Hurford and
   7   ROMTech competitive harm by exposing its trade secrets, product and business
   8   plans, and profitability, to competitors (including plaintiff who absent the protective
   9   order would be free to use that information to compete with the parties) and could
  10   annoy or embarrass ROMTech’s medical advisors who provided information to
  11   ROMTech on the promise of confidentiality.
  12         In light of the nature of the claims and allegations in this case and the parties’
  13   representations that discovery in this case will involve the production of
  14   confidential records, and in order to expedite the flow of information, to facilitate
  15   the prompt resolution of disputes over confidentiality of discovery materials, to
  16   adequately protect information the parties are entitled to keep confidential, to
  17   ensure that the parties are permitted reasonable necessary uses of such material in
  18   connection with this action, to address their handling of such material at the end of
  19   the litigation, and to serve the ends of justice, a protective order for such
  20   information is justified in this matter. The parties shall not designate any
  21   information/documents as confidential without a good faith belief that such
  22   information/documents have been maintained in a confidential, non-public manner,
  23   and that there is good cause or a compelling reason why it should not be part of the
  24   public record of this case.
  25         2.     DEFINITIONS
  26         2.1    Action: this pending federal lawsuit.
  27         2.2    Challenging Party: a Party or Non-Party that challenges the
  28   designation of information or items under this Order.
                                                   2
         STIPULATED PROTECTIVE ORDER – CASE NO. 2:20-CV-10203-JVS-PVC
Case 2:20-cv-10203-JVS-PVC Document 94 Filed 04/26/21 Page 4 of 15 Page ID #:427



   1          2.3    “CONFIDENTIAL” Information or Items: information (regardless of
   2   how it is generated, stored or maintained) or tangible things that qualify for
   3   protection under Federal Rule of Civil Procedure 26(c), and as specified above in
   4   the Good Cause Statement.
   5          2.4    Counsel: Outside Counsel of Record and House Counsel (as well as
   6   their support staff).
   7          2.5    Designating Party: a Party or Non-Party that designates information or
   8   items that it produces in disclosures or in responses to discovery as
   9   “CONFIDENTIAL.”
  10          2.6    Disclosure or Discovery Material: all items or information, regardless
  11   of the medium or manner in which it is generated, stored, or maintained (including,
  12   among other things, testimony, transcripts, and tangible things), that are produced
  13   or generated in disclosures or responses to discovery in this matter.
  14          2.7    Expert: a person with specialized knowledge or experience in a matter
  15   pertinent to the litigation who has been retained by a Party or its counsel to serve as
  16   an expert witness or as a consultant in this Action.
  17          2.8    House Counsel: attorneys who are employees of a party to this Action.
  18   House Counsel does not include Outside Counsel of Record or any other outside
  19   counsel.
  20          2.9    Non-Party: any natural person, partnership, corporation, association,
  21   or other legal entity not named as a Party to this action.
  22          2.10 Outside Counsel of Record: attorneys who are not employees of a
  23   party to this Action but are retained to represent or advise a party to this Action and
  24   have appeared in this Action on behalf of that party or are affiliated with a law firm
  25   which has appeared on behalf of that party, and includes support staff.
  26          2.11 Party: any party to this Action, including all of its officers, directors,
  27   employees, consultants, retained experts, and Outside Counsel of Record (and their
  28   support staffs).
                                                  3
         STIPULATED PROTECTIVE ORDER – CASE NO. 2:20-CV-10203-JVS-PVC
Case 2:20-cv-10203-JVS-PVC Document 94 Filed 04/26/21 Page 5 of 15 Page ID #:428



   1          2.12 Producing Party: a Party or Non-Party that produces Disclosure or
   2   Discovery Material in this Action.
   3          2.13 Professional Vendors: persons or entities that provide litigation
   4   support services (e.g., photocopying, videotaping, translating, preparing exhibits or
   5   demonstrations, and organizing, storing, or retrieving data in any form or medium)
   6   and their employees and subcontractors.
   7          2.14 Protected Material: any Disclosure or Discovery Material that is
   8   designated as “CONFIDENTIAL.”
   9          2.15 Receiving Party: a Party that receives Disclosure or Discovery
  10   Material from a Producing Party.
  11          3.    SCOPE
  12          The protections conferred by this Stipulation and Order cover not only
  13   Protected Material (as defined above), but also (1) any information copied or
  14   extracted from Protected Material; (2) all copies, excerpts, summaries, or
  15   compilations of Protected Material; and (3) any testimony, conversations, or
  16   presentations by Parties or their Counsel that might reveal Protected Material.
  17          Any use of Protected Material at trial will be governed by the orders of the
  18   trial judge. This Order does not govern the use of Protected Material at trial.
  19          4.    DURATION
  20                Even after final disposition of this litigation, the confidentiality
  21   obligations imposed by this Order will remain in effect until a Designating Party
  22   agrees otherwise in writing or a court order otherwise directs. Final disposition will
  23   be deemed to be the later of (1) dismissal of all claims and defenses in this Action,
  24   with or without prejudice; and (2) final judgment herein after the completion and
  25   exhaustion of all appeals, rehearings, remands, trials, or reviews of this Action,
  26   including the time limits for filing any motions or applications for extension of time
  27   pursuant to applicable law.
  28   \\
                                                  4
            STIPULATED PROTECTIVE ORDER – CASE NO. 2:20-CV-10203-JVS-PVC
Case 2:20-cv-10203-JVS-PVC Document 94 Filed 04/26/21 Page 6 of 15 Page ID #:429



   1         5.     DESIGNATING PROTECTED MATERIAL
   2         5.1    Exercise of Restraint and Care in Designating Material for Protection.
   3   Each Party or Non-Party that designates information or items for protection under
   4   this Order must take care to limit any such designation to specific material that
   5   qualifies under the appropriate standards. The Designating Party must designate for
   6   protection only those parts of material, documents, items, or oral or written
   7   communications that qualify so that other portions of the material, documents,
   8   items, or communications for which protection is not warranted are not swept
   9   unjustifiably within the ambit of this Order.
  10         Mass, indiscriminate, or routinized designations are prohibited. Designations
  11   that are shown to be clearly unjustified or that have been made for an improper
  12   purpose (e.g., to unnecessarily encumber the case development process or to
  13   impose unnecessary expenses and burdens on other parties) may expose the
  14   Designating Party to sanctions.
  15         If it comes to a Designating Party’s attention that information or items that it
  16   designated for protection do not qualify for protection, that Designating Party must
  17   promptly notify all other Parties that it is withdrawing the inapplicable designation.
  18         5.2    Manner and Timing of Designations. Except as otherwise provided in
  19   this Order (see, e.g., second paragraph of section 5.2(a) below), or as otherwise
  20   stipulated or ordered, Disclosure or Discovery Material that qualifies for protection
  21   under this Order must be clearly so designated before the material is disclosed or
  22   produced.
  23         Designation in conformity with this Order requires:
  24         (a) for information in documentary form (e.g., paper or electronic
  25   documents, but excluding transcripts of depositions or other pretrial or trial
  26   proceedings), that the Producing Party affix at a minimum, the legend
  27   “CONFIDENTIAL” (hereinafter “CONFIDENTIAL legend”), to each page that
  28   contains protected material. If only a portion or portions of the material on a page
                                                  5
         STIPULATED PROTECTIVE ORDER – CASE NO. 2:20-CV-10203-JVS-PVC
Case 2:20-cv-10203-JVS-PVC Document 94 Filed 04/26/21 Page 7 of 15 Page ID #:430



   1   qualifies for protection, the Producing Party also must clearly identify the protected
   2   portion(s) (e.g., by making appropriate markings in the margins).
   3         A Party or Non-Party that makes original documents available for inspection
   4   need not designate them for protection until after the inspecting Party has indicated
   5   which documents it would like copied and produced. During the inspection and
   6   before the designation, all of the material made available for inspection will be
   7   deemed “CONFIDENTIAL.” After the inspecting Party has identified the
   8   documents it wants copied and produced, the Producing Party must determine
   9   which documents, or portions thereof, qualify for protection under this Order. Then,
  10   before producing the specified documents, the Producing Party must affix the
  11   “CONFIDENTIAL legend” to each page that contains Protected Material. If only a
  12   portion or portions of the material on a page qualifies for protection, the Producing
  13   Party also must clearly identify the protected portion(s) (e.g., by making
  14   appropriate markings in the margins).
  15         (b) for testimony given in depositions that the Designating Party either: (i)
  16   identify the Disclosure or Discovery Material on the record, before the close of the
  17   deposition all protected testimony; or (ii) designate the page and line numbers of all
  18   designated testimony by giving written notice to opposing counsel and the court
  19   reporter within 21 days following receipt of the deposition.
  20         (c) for information produced in some form other than documentary and for
  21   any other tangible items, that the Producing Party affix in a prominent place on the
  22   exterior of the container or containers in which the information is stored the legend
  23   “CONFIDENTIAL.” If only a portion or portions of the information warrants
  24   protection, the Producing Party, to the extent practicable, will identify the protected
  25   portion(s).
  26         5.3     Inadvertent Failures to Designate. If timely corrected, an inadvertent
  27   failure to designate qualified information or items does not, standing alone, waive
  28   the Designating Party’s right to secure protection under this Order for such
                                                  6
         STIPULATED PROTECTIVE ORDER – CASE NO. 2:20-CV-10203-JVS-PVC
Case 2:20-cv-10203-JVS-PVC Document 94 Filed 04/26/21 Page 8 of 15 Page ID #:431



   1   material. Upon timely correction of a designation, the Receiving Party must make
   2   reasonable efforts to assure that the material is treated in accordance with the
   3   provisions of this Order.
   4         6.       CHALLENGING CONFIDENTIALITY DESIGNATIONS
   5         6.1      Timing of Challenges. Any Party or Non-Party may challenge a
   6   designation of confidentiality at any time that is consistent with the Court’s
   7   Scheduling Order.
   8         6.2      Meet and Confer. The Challenging Party will initiate the dispute
   9   resolution process (and, if necessary, file a discovery motion) under Local Rule
  10   37.1 et seq.
  11         6.3      The burden of persuasion in any such challenge proceeding will be on
  12   the Designating Party. Frivolous challenges, and those made for an improper
  13   purpose (e.g., to harass or impose unnecessary expenses and burdens on other
  14   parties) may expose the Challenging Party to sanctions. Unless the Designating
  15   Party has waived or withdrawn the confidentiality designation, all parties will
  16   continue to afford the material in question the level of protection to which it is
  17   entitled under the Producing Party’s designation until the Court rules on the
  18   challenge.
  19         7.       ACCESS TO AND USE OF PROTECTED MATERIAL
  20         7.1      Basic Principles. A Receiving Party may use Protected Material that is
  21   disclosed or produced by another Party or by a Non-Party in connection with this
  22   Action only for prosecuting, defending, or attempting to settle this Action. Such
  23   Protected Material may be disclosed only to the categories of persons and under the
  24   conditions described in this Order. When the Action has been terminated, a
  25   Receiving Party must comply with the provisions of section 13 below (FINAL
  26   DISPOSITION).
  27         Protected Material must be stored and maintained by a Receiving Party at a
  28   location and in a secure manner that ensures that access is limited to the persons
                                                  7
         STIPULATED PROTECTIVE ORDER – CASE NO. 2:20-CV-10203-JVS-PVC
Case 2:20-cv-10203-JVS-PVC Document 94 Filed 04/26/21 Page 9 of 15 Page ID #:432



   1   authorized under this Order.
   2         7.2    Disclosure of “CONFIDENTIAL” Information or Items. Unless
   3   otherwise ordered by the court or permitted in writing by the Designating Party, a
   4   Receiving Party may disclose any information or item designated
   5   “CONFIDENTIAL” only to:
   6         (a) the Receiving Party’s Outside Counsel of Record in this Action, as well
   7   as employees of said Outside Counsel of Record to whom it is reasonably necessary
   8   to disclose the information for this Action;
   9         (b) the officers, directors, and employees (including House Counsel) of the
  10   Receiving Party to whom disclosure is reasonably necessary for this Action;
  11         (c) Experts (as defined in this Order) of the Receiving Party to whom
  12   disclosure is reasonably necessary for this Action and who have signed the
  13   “Acknowledgment and Agreement to Be Bound” (Exhibit A);
  14         (d) the Court and its personnel;
  15         (e) court reporters and their staff;
  16         (f) professional jury or trial consultants, mock jurors, and Professional
  17   Vendors to whom disclosure is reasonably necessary for this Action and who have
  18   signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
  19         (g) the author or recipient of a document containing the information or a
  20   custodian or other person who otherwise possessed or knew the information;
  21         (h) during their depositions, witnesses, and attorneys for witnesses, in the
  22   Action to whom disclosure is reasonably necessary provided: (1) the deposing party
  23   requests that the witness sign the form attached as Exhibit A hereto; and (2) they
  24   will not be permitted to keep any confidential information unless they sign the
  25   “Acknowledgment and Agreement to Be Bound” (Exhibit A), unless otherwise
  26   agreed by the Designating Party or ordered by the court. Pages of transcribed
  27   deposition testimony or exhibits to depositions that reveal Protected Material may
  28   be separately bound by the court reporter and may not be disclosed to anyone
                                                    8
         STIPULATED PROTECTIVE ORDER – CASE NO. 2:20-CV-10203-JVS-PVC
Case 2:20-cv-10203-JVS-PVC Document 94 Filed 04/26/21 Page 10 of 15 Page ID #:433



   1   except as permitted under this Stipulated Protective Order; and
   2         (i) any mediator or settlement officer, and their supporting personnel,
   3   mutually agreed upon by any of the parties engaged in settlement discussions.
   4         8.     PROTECTED MATERIAL SUBPOENAED OR ORDERED
   5   PRODUCED IN OTHER LITIGATION
   6         If a Party is served with a subpoena or a court order issued in other litigation
   7   that compels disclosure of any information or items designated in this Action as
   8   “CONFIDENTIAL,” that Party must:
   9         (a) promptly notify in writing the Designating Party. Such notification will
  10   include a copy of the subpoena or court order;
  11         (b) promptly notify in writing the party who caused the subpoena or order to
  12   issue in the other litigation that some or all of the material covered by the subpoena
  13   or order is subject to this Protective Order. Such notification will include a copy of
  14   this Stipulated Protective Order; and
  15         (c) cooperate with respect to all reasonable procedures sought to be pursued
  16   by the Designating Party whose Protected Material may be affected.
  17         If the Designating Party timely seeks a protective order, the Party served with
  18   the subpoena or court order will not produce any information designated in this
  19   action as “CONFIDENTIAL” before a determination by the court from which the
  20   subpoena or order issued, unless the Party has obtained the Designating Party’s
  21   permission. The Designating Party will bear the burden and expense of seeking
  22   protection in that court of its confidential material and nothing in these provisions
  23   should be construed as authorizing or encouraging a Receiving Party in this Action
  24   to disobey a lawful directive from another court.
  25         9.     A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE
  26   PRODUCED IN THIS LITIGATION
  27         (a) The terms of this Order are applicable to information produced by a Non-
  28   Party in this Action and designated as “CONFIDENTIAL.” Such information
                                                  9
          STIPULATED PROTECTIVE ORDER – CASE NO. 2:20-CV-10203-JVS-PVC
Case 2:20-cv-10203-JVS-PVC Document 94 Filed 04/26/21 Page 11 of 15 Page ID #:434



   1   produced by Non-Parties in connection with this litigation is protected by the
   2   remedies and relief provided by this Order. Nothing in these provisions should be
   3   construed as prohibiting a Non-Party from seeking additional protections.
   4         (b) In the event that a Party is required, by a valid discovery request, to
   5   produce a Non-Party’s confidential information in its possession, and the Party is
   6   subject to an agreement with the Non-Party not to produce the Non-Party’s
   7   confidential information, then the Party will:
   8         (1) promptly notify in writing the Requesting Party and the Non-Party that
   9   some or all of the information requested is subject to a confidentiality agreement
  10   with a Non-Party;
  11         (2) promptly provide the Non-Party with a copy of the Stipulated Protective
  12   Order in this Action, the relevant discovery request(s), and a reasonably specific
  13   description of the information requested; and
  14         (3) make the information requested available for inspection by the Non-
  15   Party, if requested.
  16         (c) If the Non-Party fails to seek a protective order from this court within 14
  17   days of receiving the notice and accompanying information, the Receiving Party
  18   may produce the Non-Party’s confidential information responsive to the discovery
  19   request. If the Non-Party timely seeks a protective order, the Receiving Party will
  20   not produce any information in its possession or control that is subject to the
  21   confidentiality agreement with the Non-Party before a determination by the court.
  22   Absent a court order to the contrary, the Non-Party will bear the burden and
  23   expense of seeking protection in this court of its Protected Material.
  24         10.    UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
  25         If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed
  26   Protected Material to any person or in any circumstance not authorized under this
  27   Stipulated Protective Order, the Receiving Party must immediately (a) notify in
  28   writing the Designating Party of the unauthorized disclosures, (b) use its best
                                                 10
          STIPULATED PROTECTIVE ORDER – CASE NO. 2:20-CV-10203-JVS-PVC
Case 2:20-cv-10203-JVS-PVC Document 94 Filed 04/26/21 Page 12 of 15 Page ID #:435



   1   efforts to retrieve all unauthorized copies of the Protected Material, (c) inform the
   2   person or persons to whom unauthorized disclosures were made of all the terms of
   3   this Order, and (d) request such person or persons to execute the “Acknowledgment
   4   and Agreement to Be Bound” that is attached hereto as Exhibit A.
   5         11.    INADVERTENT PRODUCTION OF PRIVILEGED OR
   6   OTHERWISE PROTECTED MATERIAL
   7         When a Producing Party gives notice to Receiving Parties that certain
   8   inadvertently produced material is subject to a claim of privilege or other
   9   protection, the obligations of the Receiving Parties are those set forth in Federal
  10   Rule of Civil Procedure 26(b)(5)(B). This provision is not intended to modify
  11   whatever procedure may be established in an e-discovery order that provides for
  12   production without prior privilege review. Pursuant to Federal Rule of Evidence
  13   502(d) and (e), insofar as the parties reach an agreement on the effect of disclosure
  14   of a communication or information covered by the attorney-client privilege or work
  15   product protection, the parties may incorporate their agreement in the stipulated
  16   protective order submitted to the court.
  17         12.    MISCELLANEOUS
  18         12.1 Right to Further Relief. Nothing in this Order abridges the right of any
  19   person to seek its modification by the Court in the future.
  20         12.2 Right to Assert Other Objections. By stipulating to the entry of this
  21   Protective Order no Party waives any right it otherwise would have to object to
  22   disclosing or producing any information or item on any ground not addressed in
  23   this Stipulated Protective Order. Similarly, no Party waives any right to object on
  24   any ground to use in evidence of any of the material covered by this Protective
  25   Order.
  26         12.3 Filing Protected Material. A Party that seeks to file under seal any
  27   Protected Material must comply with Civil Local Rule 79-5. Protected Material
  28   may only be filed under seal pursuant to a court order authorizing the sealing of the
                                                  11
          STIPULATED PROTECTIVE ORDER – CASE NO. 2:20-CV-10203-JVS-PVC
Case 2:20-cv-10203-JVS-PVC Document 94 Filed 04/26/21 Page 13 of 15 Page ID #:436



   1   specific Protected Material at issue. If a Party's request to file Protected Material
   2   under seal is denied by the court, then the Receiving Party may file the information
   3   in the public record unless otherwise instructed by the court.
   4          13.   FINAL DISPOSITION
   5          After the final disposition of this Action, as defined in paragraph 4, within 60
   6   days of a written request by the Designating Party, each Receiving Party must
   7   return all Protected Material to the Producing Party or destroy such material. As
   8   used in this subdivision, “all Protected Material” includes all copies, abstracts,
   9   compilations, summaries, and any other format reproducing or capturing any of the
  10   Protected Material. Whether the Protected Material is returned or destroyed, the
  11   Receiving Party must submit a written certification to the Producing Party (and, if
  12   not the same person or entity, to the Designating Party) by the 60 day deadline that
  13   (1) identifies (by category, where appropriate) all the Protected Material that was
  14   returned or destroyed and (2) affirms that the Receiving Party has not retained any
  15   copies, abstracts, compilations, summaries or any other format reproducing or
  16   capturing any of the Protected Material. Notwithstanding this provision, Counsel
  17   are entitled to retain an archival copy of all pleadings, motion papers, trial,
  18   deposition, and hearing transcripts, legal memoranda, correspondence, deposition
  19   and trial exhibits, expert reports, attorney work product, and consultant and expert
  20   work product, even if such materials contain Protected Material. Any such archival
  21   copies that contain or constitute Protected Material remain subject to this Protective
  22   Order as set forth in Section 4 (DURATION).
  23   \\
  24   \\
  25   \\
  26   \\
  27   \\
  28   \\
                                                  12
            STIPULATED PROTECTIVE ORDER – CASE NO. 2:20-CV-10203-JVS-PVC
Case 2:20-cv-10203-JVS-PVC Document 94 Filed 04/26/21 Page 14 of 15 Page ID #:437



   1         14.    Any willful violation of this Order may be punished by civil or
   2   criminal contempt proceedings, financial or evidentiary sanctions, reference to
   3   disciplinary authorities, or other appropriate action at the discretion of the Court.
   4
   5   FOR GOOD CAUSE SHOWN BY THE PARTIES’ STIPULATION, IT IS SO
   6   ORDERED.
   7
   8
   9   DATED: April 26, 2021                   __________________________________
  10                                           HON. PEDRO V. CASTILLO
                                               UNITED STATES MAGISTRATE JUDGE
  11
  12
  13
  14
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28
                                                  13
          STIPULATED PROTECTIVE ORDER – CASE NO. 2:20-CV-10203-JVS-PVC
Case 2:20-cv-10203-JVS-PVC Document 94 Filed 04/26/21 Page 15 of 15 Page ID #:438



   1                                       EXHIBIT A
   2                              AGREEMENT TO BE BOUND
   3         I, _____________________________ [print or type full name], of
   4   _________________ [print or type full address], declare under penalty of perjury
   5   that I have read in its entirety and understand the Protective Order that was issued
   6   by the United States District Court for the Central District of California on
   7   _________ in the case of Hurford Global LLC v. ROM3 California, LLC et al.
   8   2:20-cv-10203-JVS-PVC. I agree to comply with and to be bound by all the terms
   9   of this Protective Order, and I understand and acknowledge that failure to so
  10   comply could expose me to sanctions and punishment for contempt. I solemnly
  11   promise that I will not disclose in any manner any information or item that is
  12   subject to this Protective Order to any person or entity except in strict compliance
  13   with this Order.
  14         I further agree to submit to the jurisdiction of the United States District Court
  15   for the Central District of California for the purpose of enforcing this Order, even if
  16   such enforcement proceedings occur after termination of this action.
  17
  18   Date: ___________________________
  19   City and State where sworn and signed: _________________________________
  20
  21   Printed name: ____________________
  22                      [printed name]
  23   Signature: _______________________
  24                      [signature]
  25
  26
  27
  28
                                                 14
          STIPULATED PROTECTIVE ORDER – CASE NO. 2:20-CV-10203-JVS-PVC
